       Case 19-28844                  Doc 12         Filed 10/13/19 Entered 10/13/19 23:24:53                                    Desc Imaged
                                                     Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1                 Robert J. Lyons                                                        Social Security number or ITIN    xxx−xx−6777

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Northern District of Illinois
                                                                                                Date case filed for chapter 13 10/10/19
Case number:          19−28844



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Robert J. Lyons

2. All other names used in the
   last 8 years
                                              317 Richards Street
3. Address                                    Joliet, IL 60433
                                              David M Siegel                                                Contact phone 847 520−8100
4. Debtor's  attorney
   Name and address
                                              David M. Siegel & Associates
                                              790 Chaddick Drive
                                                                                                            Email: davidsiegelbk@gmail.com

                                              Wheeling, IL 60090

5. Bankruptcy trustee                         Glenn B Stearns                                               Contact phone 630−981−3888
     Name and address                         801 Warrenville Road Suite 650
                                              Lisle, IL 60532

6. Bankruptcy clerk's office                                                                                Hours open:
     Documents in this case may be filed      Eastern Division                                              8:30 a.m. until 4:30 p.m. except Saturdays,
     at this address.                         219 S Dearborn                                                Sundays and legal holidays.
     You may inspect all records filed in     7th Floor                                                     Contact phone 1−866−222−8029
     this case at this office or online at    Chicago, IL 60604                                             Date: 10/11/19
      www.pacer.gov.
                                                                                                                  For more information, see page 2




Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                               page 1
      Case 19-28844                 Doc 12         Filed 10/13/19 Entered 10/13/19 23:24:53                                          Desc Imaged
                                                   Certificate of Notice Page 2 of 4
Debtor Robert J. Lyons                                                                                                                   Case number 19−28844

7. Meeting of creditors
    Debtors must attend the meeting to     November 20, 2019 at 11:00 AM                                      Location:
    be questioned under oath. In a joint                                                                     801 Warrenville Rd, Ste 655, Lisle, IL
    case, both spouses must attend.                                                                          60532−3614
    Creditors may attend, but are not      The meeting may be continued or adjourned to a
    required to do so.                     later date. If so, the date will be on the court
                                           docket.
                                           Debtors must bring a picture ID and proof of
                                           their Social Security Number.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 1/21/20
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 12/19/19
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 4/7/20
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           12/13/19 at 11:30 AM , Location: Joliet City Hall, 150 W Jefferson Street, 2nd Floor, Joliet, IL 60432

                                           The Disclosure of Compensation has been filed. The attorney for the debtor is
                                           requesting fees of $ 4,000.00
                                           Objections to confirmation of the Plan shall be filed at least 7 days prior to the confirmation
                                           hearing. If there are no objections, the Court may confirm the plan and allow fees requested
                                           by debtor's counsel to be paid through the plan.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                           confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                     page 2
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                                                Certificate of Notice Page 3 of 4
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 19-28844-PSH
Robert J. Lyons                                                                                            Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: vgossett                     Page 1 of 2                          Date Rcvd: Oct 11, 2019
                                      Form ID: 309I                      Total Noticed: 29


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 13, 2019.
db             +Robert J. Lyons,    317 Richards Street,   Joliet, IL 60433-1859
tr             +Glenn B Stearns,    801 Warrenville Road Suite 650,    Lisle, IL 60532-4350
28280196       +Automotive Credit Corp,    26261 Evergreen Rd,    Southfield, MI 48076-4447
28280200        City of Chicago Dept. of Revenue,    Camera Enforcement Violation,    PO Box 88292,
                 Chicago, IL 60680-1292
28280201       +City of Chicago Parking,    Department of Finance,    P. O. Box 6330,   Chicago, IL 60680-6330
28280206       +Holiday Inn Club Vacation,    8505 W Irlo Bronson Memo,    Kissimmee, FL 34747-8217
28280207       +Illinois Tollway,    PO Box 5544,   Chicago, IL 60680-5491
28280209       +LVNF Funding,    625 Pilot Road,   suite 213,    Las Vegas, NV 89119-4485
28280212       +Secretary of State,    Safety & Financial Responsibility,    2701 South Dirksen Parkway,
                 Springfield, IL 62723-1000
28280213       +Secretary of State License Renewal,    17 N State,    Suite 1100,   Chicago, IL 60602-3561
28280214       +St. Joseph Hosiptal,    333 N Madison,   Joliet, IL 60435-8200
28280215        The Illinois Tollway,    2700 West Ogden Avenue,    Downers Grove, IL 60515-1703

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: davidsiegelbk@gmail.com Oct 12 2019 02:29:26        David M Siegel,
                 David M. Siegel & Associates,    790 Chaddick Drive,     Wheeling, IL 60090
ust            +E-mail/Text: USTPREGION11.ES.ECF@USDOJ.GOV Oct 12 2019 02:34:24         Patrick S Layng,
                 Office of the U.S. Trustee, Region 11,     219 S Dearborn St,    Room 873,
                 Chicago, IL 60604-2027
28280195       +EDI: CINGMIDLAND.COM Oct 12 2019 05:53:00       AT&T,    Bankruptcy Department,
                 5407 Andrew Highway,    Midland, TX 79706-2851
28280191       +E-mail/Text: bankruptcy@rentacenter.com Oct 12 2019 02:36:29        Acceptance Now,
                 5501 Headquarters Dr,    Plano, TX 75024-5837
28280192       +EDI: AFNIRECOVERY.COM Oct 12 2019 05:53:00       Afni, Inc.,    Po Box 3097,
                 Bloomington, IL 61702-3097
28280193       +EDI: AQUAFINANCE.COM Oct 12 2019 05:53:00       Aqua Finance Inc,    1 Corporate Cove,
                 Wausau, WI 54401-1724
28280194       +EDI: PHINHARRIS Oct 12 2019 05:53:00       Arnold Scott Harris, P.C.,
                 111 W. Jackson Blvd. Ste. 600,    Chicago, IL 60604-3517
28280197        EDI: CAPITALONE.COM Oct 12 2019 05:53:00       Cap One,    15000 Capital One Dr,
                 Richmond, VA 23238
28280198       +EDI: CAPITALONE.COM Oct 12 2019 05:53:00       Cap One,    10700 Capital One Way,
                 Richmond, VA 23060-9243
28280199       +EDI: CAPONEAUTO.COM Oct 12 2019 05:54:00       Capital One Auto Finance,     Po Box 259407,
                 Plano, TX 75025-9407
28280202       +E-mail/PDF: creditonebknotifications@resurgent.com Oct 12 2019 02:38:47         Credit One,
                 Bankrupcty Department,    PO Box 98873,    Las Vegas, NV 89193-8873
28280203       +EDI: NAVIENTFKASMDOE.COM Oct 12 2019 05:53:00       Dept Of Ed/navient,     Po Box 9635,
                 Wilkes Barre, PA 18773-9635
28280205        EDI: BLUESTEM Oct 12 2019 05:54:00       FINGERHUT/WEBBANK,    6250 Ridgewood Rd.,
                 Saint Cloud, MN 56303-0820
28280204        EDI: BLUESTEM Oct 12 2019 05:54:00       Fingerhut,    PO Box 1250,    Saint Cloud, MN 56395-1250
28280208        EDI: JEFFERSONCAP.COM Oct 12 2019 05:53:00       Jefferson Capital Syst,     16 Mcleland Rd,
                 Saint Cloud, MN 56303
28280210       +EDI: AGFINANCE.COM Oct 12 2019 05:53:00       Onemain,    Po Box 1010,    Evansville, IN 47706-1010
28280211       +E-mail/Text: bankruptcyteam@quickenloans.com Oct 12 2019 02:35:25         Quicken Loans,
                 1050 Woodward Ave,    Detroit, MI 48226-1906
                                                                                                TOTAL: 17

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 13, 2019                                            Signature: /s/Joseph Speetjens
        Case 19-28844      Doc 12    Filed 10/13/19 Entered 10/13/19 23:24:53            Desc Imaged
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District/off: 0752-1         User: vgossett              Page 2 of 2                   Date Rcvd: Oct 11, 2019
                             Form ID: 309I               Total Noticed: 29

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 11, 2019 at the address(es) listed below:
              David M Siegel   on behalf of Debtor 1 Robert J. Lyons davidsiegelbk@gmail.com,
               R41057@notify.bestcase.com;johnellmannlaw@gmail.com
              Glenn B Stearns   stearns_g@lisle13.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
                                                                                            TOTAL: 3
